Case 8:17-cv-00190-SDM-SPF Document 283 Filed 08/25/20 Page 1 of 2 PageID 12507



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION



     FINANCIAL INFORMATION
     TECHNOLOGIES, LLC,

           Plaintiff,

     v.                                               CASE NO. 8:17-cv-190-T-23SPF

     ICONTROL SYSTEMS, USA, LLC,

           Defendant.
     __________________________________/


                                            ORDER

           An August 10, 2020 order (1) denies without prejudice the plaintiff’s motion

     for a permanent injunction and (2) permits the plaintiff to submit no later than

     August 17, 2020, a renewed motion for a permanent injunction. Three days after the

     deadline, the plaintiff moved (Doc. 280) to extend the time within which to move for

     a renewed permanent injunction. The next day, the plaintiff submitted without leave

     a “notice of filing renewed motion for permanent injunction” (Doc. 282)

     accompanied by a renewed motion for a permanent injunction. (Doc. 282-1)

           The notice (Doc. 282) is STRICKEN. The plaintiff’s motion to extend the

     time within which to submit a renewed motion for a permanent injunction is

     GRANTED. No later than AUGUST 26, 2020, the plaintiff may move for a

     permanent injunction. Under Rule 6(b)(1)(B), the motion must demonstrate
Case 8:17-cv-00190-SDM-SPF Document 283 Filed 08/25/20 Page 2 of 2 PageID 12508



     “excusable neglect” for the failure to timely move. An affidavit or other verifiable

     paper must support each factual assertion.

           ORDERED in Tampa, Florida, on August 25, 2020.




                                              -2-
